                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


TOMMY GRAGG; and RHONDA                        )
GRAGG                                          )
                                               )       No. 3-09-1174
v.                                             )
                                               )
AIG CENTENNIAL INSURANCE CO.;                  )
AIG PRIVATE CLIENT GROUP; AIU;                 )
and CHARTIS                                    )



                                             ORDER
       In accord with the order entered September 14, 2012 (Docket Entry No. 43), the parties filed

a stipulation for dismissal with prejudice of all claims against all defendants (Docket Entry No. 44)

on October 11, 2012.

       Accordingly, the plaintiffs claims against all defendants are DISMISSED with prejudice and

the Clerk is directed to close this case on the records of the Court.

       This order shall constitute the final judgment in this case.

       It is so ORDERED.




                                               JULIET GRIFFIN
                                               United States Magistrate Judge




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